
MARVIN, Judge.
This case presents similar facts and is against the same defendant as in Home Furniture and Appliance v. Red Ball Motor Freight, Inc., 343 So.2d 319 (La.App.2d Cir. 1977), rendered this date.
Red Ball received the crated goods and signed a clean bill of lading in Dallas, Texas. From Dallas, the goods were delivered to Monroe, Louisiana, and eventually to the plaintiff consignee in Jonesboro, Louisiana. Subsequent to delivery and uncrating, damage to the goods and minor damage to the carton were discovered. The driver’s testimony was essentially the same as in Home Furniture and Appliance v. Red Ball Motor Freight, Inc., supra. For reasons there assigned, and at appellant’s cost, judgment is
AFFIRMED.
HALL, J., dissents and assigns written reasons.
